                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )      Case No. 18-00153-01-CR-RK
                                            )
JOEL JEROME TUCKER,                         )
                                            )
                      Defendant.            )

                                    MOTION TO WITHDRAW

       COMES NOW Anita L. Burns, Assistant Federal Public Defender, appointed counsel for

defendant, Joel Jerome Tucker, and moves this Court for an Order granting leave to withdraw as

counsel of record for defendant Tucker.

                                   SUGGESTIONS IN SUPPORT

       1.      On July 10, 2018, the Honorable Matt J. Whitworth, United States Magistrate Judge

appointed the Federal Public Defender to represent the defendant.

       2.      On August 30, 2019, James R. Hobbs and Marilyn B. Keller entered their

appearances as attorney for Joel Jerome Tucker.

       WHEREFORE, for the reasons set forth herein, Anita L. Burns moves this Court for an

Order granting leave to withdraw as counsel of record for the defendant Joel Jerome Tucker.

                                                   Respectfully submitted,

                                                    /s/ Anita L. Burns
                                                   Anita L. Burns
                                                   Assistant Federal Public Defender
                                                   1000 Walnut, Suite 600
                                                   Kansas City, Missouri 64106
                                                   (816) 471-8282




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                                CERTIFICATE OF SERVICE

       In accordance with Rule 49(a), (b) and (d), Fed. R. Crim. P., and Rule 5(b), Fed. R. Civ.

P., it is hereby certified that the foregoing Motion was electronically filed and transmitted to all

counsel of record this 4th day of September, 2019.


                                                     /s/ Anita L. Burns
                                                     Anita L. Burns




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